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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILLIAM BESS II
341 East Sharpnack Street
Philadelphia, PA 19119

VS.

TEMPLE UNIVERSITY-OF THE COMMONWEALTH

SYSTEM OF HIGHER EDUCATION : Civil Action
1801 North Broad Street :

Philadelphia, PA 19122-6003

and
TEMPLE UNIVERSITY POLICE OFFICER
JOHN DOE 1 :
Individually and as a police officer : JURY TRIAL DEMANDED

for Temple University Police Department
c/o Temple University Department of
Campus Safety Services
1101 West Montgomery Avenue
Philadelphia, PA 19122

and
TEMPLE UNIVERSITY POLICE OFFICER
JANE DOE 1
Individually and as a police officer
for Temple University Police Department
c/o Temple University Department of
Campus Safety Services
1101 West Montgomery Avenue
Philadelphia, PA 19122

and
TEMPLE UNIVERSITY POLICE OFFICER
JOHN DOE 3-6
Individually and as a police officer
for Temple University Police Department
c/o Temple University Department of
Campus Safety Services
1101 West Montgomery Avenue
Philadelphia, PA 19122

and
LIEUTENANT CHARLES JAMES
Individually and as a police officer
for Temple University Police Department
c/o Temple University Department of
Campus Safety Services
1101 West Montgomery Avenue
Philadelphia, PA 19122

and
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TEMPLE UNIVERSITY POLICE OFFICER
JOHN DOE
BADGE NUMBER 4479
Individually and as a police officer
for Temple University Police Department
c/o Temple University Department of
Campus Safety Services
1101 West Montgomery Avenue
Philadelphia, PA 19122

COMPLAINT

Jurisdiction

1. This action is brought pursuant to 42 U.S.C. §1983.
Jurisdiction is based upon 28 U.S.c. §§ 1331 and 1343 (1}, (3), (4)
and the aforementioned statutory provision. Plaintiff further
invokes the supplemental jurisdiction of this Court pursuant to 28
U.$.C. § 1367(a) to hear and adjudicate state law claims.

Parties

2. Plaintiff, William Bess II, is an adult individual
residing in the City of Philadelphia, Commonwealth of Pennsylvania,
at the address aforementioned.

3. Defendant, Temple University-Of The Commonwealth System of
Higher Education, is a state-related research university, an
institution of higher education and a non-profit corporation
organized under the laws of the Commonwealth of Pennsylvania, with
a principal place of business located at 1801 North Broad Street,
Philadelphia, Pennsylvania 19122. At all times relevant hereto,

Temple University-Of The Commonwealth System of Higher Education
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operated, managed, directed and controlled the Temple University
Police Department and employed Defendant Temple University Police
Officer John Doe 1, Police Officer Jane Doe 1, and Police Officers
John Doe 3-6.

4, Defendant, Temple University-Of The Commonwealth System of
Higher Education, (hereinafter referred to as Temple University) is
a non-profit corporation and at all times relevant hereto operated,
managed, directed and controlled the Temple University Police
Department which employed Defendant Temple University Police
Officer John Doe 1, Defendant Temple University Police Officer Jane
Dee 1, Defendant Tempie University Police Officers John Doe 3-6,
Defendant Temple University Police Officer Lieutenant Charles James
and Defendant Temple University Police Officer John Doe, Badge
Number 4479.

5, Defendant, Police Officer John Doe 1, is a police officer
certified pursuant to the Pennsylvania Municipal Police Officers’
Education and Training Commission and at all times relevant hereto
was acting under the management, direction, control of Defendant
Temple University and was acting under color of state law. He is
being sued in his individual capacity.

6. Defendant, Police Officer Jane Doe 1, is a police officer
certified pursuant to the Pennsylvania Municipal Police Officers’
Education and Training Commission and at all times relevant. hereto

was acting under the management, direction, control of Defendant
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Temple University and was acting under color of state law. She is
being sued in her individual capacity.

7. Defendant, Police Officers John Doe 3-6, are police
officers certified pursuant to the Pennsylvania Municipal Police
Officers’ Education and Training Commission and at ail times
relevant hereto was acting under the management, direction, control
of Defendant Temple University and was acting under color of state
law. They are being sued in their individual capacities.

8. Defendant, Lieutenant Charles James, is a police officer
certified pursuant to the Pennsylvania Municipal Police Officers’
Education and Training Commission and at all times relevant hereto
was acting under the management, direction, control of Defendant
Temple University and was acting under color of state law. He is
being sued in his individual capacity.

9. Defendant, Police Officer John Doe, Badge Number 4479, is
a police officer certified pursuant to the Pennsylvania Municipal
Police Officers’ Education and Training Commission and at all times
relevant hereto was acting under the management, direction, control
of Defendant Temple University and was acting under color of state
law. He is being sued in his individual capacity.

10. At all relevant times, all Defendants were acting in
concert and conspiracy and their actions deprived Plaintiff,
William Bess II, of his constitutional and statutory rights as

hereinafter described.
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Factual Allegations

11. At all times relevant hereto, Plaintiff, William Bess II,
was an honor student at the Engineering and Science High School of
Philadelphia.

12. On Wednesday, May 3, 2017 in the late afternoon hours,
Plaintiff was attending a special engineering program known as ACE.
The special engineering program ended at 6:00 p.m.

13. At the conclusion of the program Plaintiff’s parents drove
him back to his car which had been parked at the Engineering and
Science High School at 17th and Norris Streets, Philadelphia,
Pennsylvania.

14. Plaintiff then got into his vehicle and began the short
drive to his home. As Plaintiff as driving down i8th Street
shortly before the intersection with Diamond Street, a motor
vehicle owned by Defendant, Temple University, and being operated
by Defendant, Officer John Doe l, and/or Defendant, Officer John
Doe, Badge Number 4479, positioned himseif directly behind
Plaintiff's vehicle and put its overhead dome lights on.

15. Plaintiff immediately pulled his car over to the right
side of the road obeying all applicable laws and motor vehicle code
statutes. As Plaintiff sat in his vehicle, he was approached by
Defendant, Officer John Doe 1, and/or Defendant, Officer John Doe,
Badge Number 4479. Defendant, Officer John Doe 1, and/or

Defendant, Officer John Doe, Badge Number 4479, with his service
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weapon drawn and pointed directly at Plaintiff’s head ordered
Plaintiff to show his hands. Plaintiff immediately complied with
that command.

16. Defendant, Officer John Doe l, and/or Defendant, Officer
John Doe, Badge Number 4479, then ordered Plaintiff to get out of
his car. Plaintiff immediately complied.

17. Defendant then ordered Plaintiff to piace his hands behind
his back and get on his knees. Plaintiff complied. Defendant,
Officer Jane Doe 1, than also approached Plaintiff with her gun
drawn and pointed directly at his head.

18. Plaintiff was handcuffed and placed in the back of a
police car.

19, Plaintiff's vehicle then, without probable cause and
reasonable suspicion or any legal basis, was illegally searched by
Defendant, Lieutenant Charles James, and/or Defendant, Officers
John Does 3-6. No contraband was found in Plaintiff’s car.

20. Plaintiff was detained against his will in handcuffs for
approximately 20 minutes. At the conclusion of that 20 minutes
Officer John Doe 1 approached the Plaintiff and apologized and
uncuffed the Plaintiff and advised him he was free to leave.

21. At no time relevant hereto, did the Plaintiff engage in
any behavior which would have given any of the Defendant officers
reasonable suspicion much less probable cause that Plaintiff had

committed or was in the process of committing any crime.
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22. At no time relevant hereto, did the Plaintiff engage in
any behavior which any of the Defendant officers could have
considered a threat to themselves or to anyone else.

FIRST CAUSE OF ACTION
FEDERAL CIVIL RIGHTS VIOLATIONS

23, Plaintiff, William Bess II, incorporates by reference
paragraphs 1 through 22 of the instant Complaint.

24. As a direct and proximate result of ail Defendants’
conduct, committed under color of state law, Plaintiff, William
Bess II, was deprived of his right to be free from an illegal
search of his motor vehicle, false imprisonment, to be secure in
his person and property and to due process of law. As a result,
Plaintiff, William Bess II, suffered and continues to suffer harm
in violation of his rights under the laws and Constitution of the
United States, in particular, the Fourth and Fourteenth Amendments
thereof, and 42 U.S.C. $1983.

25. Upon information and belief, Temple University has the
largest university police department in the United States with
roughiy 130 sworn officers, supervisors and detectives spanning an
area a little more than a half square mile.

26. Temple University administrators keep virtually all
department records secret, citing its status as a privately run
institution.

27. In 2016 two Temple police officers were arrested for

handcuffing and fatally torturing one of the officer’s girlfriend.

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One of the officers had been asked to resign years before that
incident but remained on the Temple University police force.

28. Despite the fact that those two police officers were
convicted of homicide to this date Temple refuses to disclose any
information concerning who investigated prior incidents of
misconduct and refuses to release any complaint or disciplinary
records for any campus police officer.

29. After the incident involving the Plaintiff herein,
Plaintiff's mother filed a written Citizen’s Complaint to the
Temple University Department of Campus Safety Services.

30. Despite filing that complaint, upon information and
belief, there was no investigation undertaken into the facts
surrounding the incident complained of herein involving Plaintiff,
William Bess II.

31. Despite the fact that the Temple University Department of
Campus Safety Services promises that “during the course of an
investigation, the assigned investigator shall notify you
concerning the status of the complaint” and “you will also be
notified of the final outcome of the investigation,” Plaintiff has
never received any information concerning any investigation into
the activities described herein.

32. As a direct and proximate result of the acts of all
Defendants, Plaintiff, William Bess II, sustained physical

injuries, emotional harm, loss of liberty and financial losses, all
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to his detriment and harm.

33. Defendant, Temple University, has encouraged, tolerated,
ratified and has been deliberately indifferent to the following
patterns, practices and customs and to the need for more or
different training, supervision, investigation or discipline in the
areas of:

a. The use of false imprisonment by police officers;

b. Failure to properly train police officers on making
searches;

c. The proper exercise of police powers, including but
not limited to illegal searches, false imprisonment,
assault, battery, and violations of citizens’ free
speech rights, particularly in connection with
perceived challenges to police authority;

d. The monitoring of officers whom it knew or should
have known were suffering from emotional and/or
psychological problems that impaired their ability to
function as officers;

e. The failure to identify and take remedial or
disciplinary action against police officers who were
the subject of prior civilian or internal complaints
of misconduct;

f. Police officers’ use of their status as police

officers to employ the use of illegal searches, false
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arrest or to achieve ends not reasonably related to
their police duties; and

g. The failure of police officers to follow established
policies, procedures, directives and instructions
regarding the use of false imprisonment, illegal
searches and arrest powers under such circumstances
as presented herein.

h. There are excessive and chronic delays in resolving
disciplinary complaints;

i. At times, such as in this case, there is a failure
to investigate at all;

j. There is a jack of consistent, rational and
meaningful disciplinary and remedial actions;

k. There is a failure to effective discipline
substantial numbers of officers who were found to
have engaged in misconduct;

1. The internal investigatory process has falien below
accepted practices and is arbitrary and inconsistent;

m. The discipline, as practiced, is incident based
rather than progressive. Thus repeat violators are
not being penalized in proportion to the number of
violations;

n. The conduct of IAD investigations demonstrates that

internal affairs personnel are not adequately trained

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and supervised in the proper conduct of such
investigations;

o. There are serious deficiencies in the quality of IAD
investigations and the validity of the IAD findings
and conclusions;

p. The Temple University Police Department lacks an
effective early warning system to identify, track and
monitor “problem” officers;

gq. IAD frequently fails to interview available
eyewitnesses to incidents involving citizen
complaints of misconduct. Moreover, the interviews
that are conducted by IAD are below acceptable
standards of police practice and fail to address key
issues in the cases; and

r. TAD fails to acknowledge the disproportionate and
extreme use of force used by police officers in the
investigation of citizen complaints and fails to
properly categorize the police officers’ misconduct
in those cases as an impermissible use of force.

34, The Defendant, Temple University, failed to properly
sanction or discipline officers, who are aware of and conceal
and/or aid and abet violations of constitutional rights of citizens
by other Temple University police officers, thereby causing and

encouraging Temple University police, including the Defendant

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officers in this case, to violate the rights of citizens such as
Plaintiff, William Bess II.

35. Defendants have by the above described actions deprived
Plaintiff, William Bess II, of rights secured by the Fourth and
Fourteenth Amendments to the United States Constitution in
violation of 42 U.S.C. §1983.

SECOND CAUSE OF ACTION
SUPPLEMENTAL STATE CLAIMS

36. Plaintiff, William Bess II, incorporates by reference
paragraphs 1 through 35 of the instant Complaint.

37. The acts and conduct of the individual Defendants in this
cause of action constitute assault, battery, false imprisonment and
intentional infliction of emotional distress under the laws of the
Commonwealth of Pennsylvania, and this Court has supplemental
jurisdiction to hear and adjudicate this claims.

WHEREFORE, Plaintiff, William Bess II, requests the following
relief:
a. Compensatory damages;
b. Punitive damages;
c. Reasonable attorney’s fees and costs;
d. Such other and further relief as appears
reasonable and just; and
e. A jury trial as to each Defendant and as to

each count.

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